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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
v.                                            )       No. 4:09CR548 HEA
                                              )
FRANK ADAMS,                                  )
                                              )
               Defendant.                     )

                                              ORDER

       This matter is before the Court on the Joint Motion to Continue Sentencing [Doc. #60].

Defendant has filed a Waiver of Speedy Trial [Doc. #78].

       This Court, upon careful consideration of the motion of Plaintiff and Defendant, and on

review of the record, finds that the ends of justice would best be served by continuing the

sentencing hearing as to Defendant Frank Adams to March 2, 2010, and that a continuance of

these proceedings outweighs the best interest of the public and the defendant in a speedy trial.

Furthermore, failure to grant a continuance would deny counsel for the Defendant and the

Government the reasonable time necessary for effective preparation, taking into account the

exercise of due diligence.

       Defendant has filed with this Court a signed Waiver of Speedy Trial under the Speedy

Trial Act, 18 U.S.C. §3161, [Doc. #78].

       Concluding that the administration of justice will best be served by continuing this case,

the Court will reset the sentencing hearing in this proceeding.

       Accordingly,

       IT IS HEREBY ORDERED that the sentencing hearing in this matter is set for Tuesday,
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March 2, 2010, at 11:30 a.m. in the courtroom of the undersigned.

       Dated this 4th day of February, 2010.




                                               ________________________________
                                                  HENRY EDWARD AUTREY
                                                UNITED STATES DISTRICT JUDGE




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